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 8
                       UNITED STATES DISTRICT COURT
 9                FOR THE EASTERN DISTRICT OF WASHINGTON
10

11   STATE OF WASHINGTON, et al.,                 No. 1:23-cv-03026
12
                               Plaintiffs,        NOTICE OF SUPPLEMENTAL
13                                                INFORMATION
            v.
14

15   U.S. FOOD AND DRUG
     ADMINISTRATION, et al.,
16

17                             Defendants.
18

19         On March 28, 2023, this Court held oral argument on Plaintiff States’
20
     Motion for Preliminary Injunction. ECF Dkt. 70. During the argument, the Court
21
     asked counsel for Defendants whether any drugs other than Mifeprex
22

23 (mifepristone) are subject to a Risk Evaluation and Mitigation Strategy (REMS)

24
     that includes a pharmacy certification requirement. See 21 U.S.C. § 355-1(f)(3)(B).
25
     Upon further review of the REMS for approved drugs and biological products
26

27                                            1
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 1 posted on FDA’s website,1 Defendants have determined that more than three dozen

 2
     other new drug application (NDA) or biologics license application (BLA) products
 3

 4 (not including abbreviated new drug application (ANDA) products, i.e.,

 5 “generics”) are subject to a REMS that includes a pharmacy certification

 6
     requirement: Letairis (ambrisentan), Tracleer (bosentan), Camzyos (mavacamtem),
 7

 8 Caprelsa (vandetanib), Clozaril (clozapine), Fazaclo ODT (clozapine), Versacloz

 9 (clozapine), Empaveli (pegcetacoplan), Filspari (sparsentan), Fintepla

10
     (fenfluramine hydrochloride), Absorica (isotretinoin), Absorica LD (isotretinoin),
11

12 Juxtapid (lomitapide), Jynarque (tolvaptan), Lemtrada (alemtuzumab), Revlimid

13 (lenalidomide), Opsumit (macitentan), Myalept (metrepleptin), Natpara

14
     (parathyroid hormone), Palforzia (peanut (Arachis hyogaea) allergen powder-
15

16 dnfp), Palynziq (pegvaliase-pqpz), Pomalyst (pomalidomide), Probuphine

17 (buprenorphine hydrochloride), Qsymia (phentermine and topiramate), Adempas

18
     (riociguat), Siliq (brodalumab), Spravato (esketamine), Sublocade (buprenorphine
19

20 extended-release), Tecvalyi (teclistamab-cqyv), Tegsedi (inotersen), Thalomid

21
     (thalidomide), Actiq (fentanyl citrate), Fentora (fentanyl citrate), Lazanda (fentanyl
22
     citrate), Onsolis (fentanyl citrate), Subsys (fentanyl), Turalio (pexdartinib), Tysabri
23

24 (natalizumab), Sabril (vigabatrin), Xiaflex (collagenase clostridium histolyticum)

25

26       1
             https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm
27                                              2
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 1 (for the Peyronie’s disease indication), Xyrem/Xywav (calcium, magnesium,

 2
     potassium, and sodium oxybates), Zulresso (brexanolone), and Zyprexa Relprevv
 3

 4 (olanzapine).

 5
     March 29, 2023                         HILARY K. PERKINS
 6                                          Assistant Director
 7
                                            /s/ Noah T. Katzen
 8                                          NOAH T. KATZEN
 9                                          Trial Attorney
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15                                          Counsel for Defendants

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 1                               CERTIFICATE OF SERVICE
 2

 3       I hereby certify that, on March 29, 2023, I electronically filed the foregoing
 4
     with the Clerk of the Court using the CM/ECF system, which will send notification
 5

 6 of such filing to all counsel of record.

 7

 8                                                 /s/ Noah T. Katzen
 9                                                 NOAH T. KATZEN

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